Case 2:22-cv-00200-Z-BR        Document 99       Filed 03/27/25      Page 1 of 1      PageID 410



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    AMARILLO DIVISION

  THEOTIS LEE HODGE,
                                                                                       WAR 27 2025 PMS: 12
            Plaintiff,                                                              FILED - USDC - NDTX - AM

  v.                                                        2:22-CV-200-Z-BR

  D. ZIMMERMAN, et al.,

            Defendants.


       ORDER ADOPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION

        Before the Court are the findings, conclusions, and recommendation of the United States

Magistrate Judge to dismiss Plaintiff's Amended Complaint against Defendant J. Rilley only. No

objections to the findings, conclusions, and recommendation have been filed. After making an

independent review of the pleadings, files, and records in this case, the Court concludes that the

findings, conclusions, and recommendation of the Magistrate Judge are correct. ECF No. 97. It is

therefore ORDERED that the findings, conclusions, and recommendation of the Magistrate Judge                       |

are ADOPTED and Plaintiff's Amended Complaint against Defendant J. Rilley is DISMISSED

WITH PREJUDICE.

        SO ORDERED.

        March a     2025                                                                                       |




                                                    MAATHEW J. KACSMARYK
                                                    UNITED STATES DISTRICT JUDGE
